
659 S.E.2d 737 (2008)
Martin Andrew OAKES
v.
LINCOLN COUNTY BOARD OF ELECTIONS, Lincoln County Board of Education, Lincoln County Board of Commissioners.
No. 61P07-2.
Supreme Court of North Carolina.
March 6, 2008.
Martin Andrew Oakes, Pro Se.
K. Dean Shatley, II, Asheville, Jeffrey Taylor, Lincolnton, for Lincoln Co. Bd. of Elections.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by Plaintiff on the 14th day of November 2007 in this matter pursuant to G.S. 7A-30 (substantial constitutional question), the following order was entered and is hereby certified to the North Carolina Court of Appeals: the notice of appeal is
"Dismissed ex mero motu by order of the Court in conference, this the 6th day of March 2008."
Upon consideration of the petition filed on the 14th day of November 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
